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 1   Craig Y. Allison (State Bar No. 161175)
     BUNSOW DE MORY, SMITH & ALLISON LLP
 2   600 Allerton Street, Suite 101
     Redwood City, CA 94063
 3   Telephone: (650) 351-7248
     Facsimile: (650) 351-7253
 4   Email: callison@bdiplaw.com

 5   Attorneys for Defendants
     Panasonic Corporation of North America, MT
 6   Picture Display Co., Ltd., and Panasonic
     Corporation (f/k/a/ Matsushita Electric Industrial
 7
     Co., Ltd.)
 8

 9                                UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12

13   In re: CATHODE RAY TUBE (CRT)                        )   Case No. 07-5944 SC
     ANTITRUST LITIGATION                                 )
14                                                        )   MDL No. 1917
                                                          )
15   This Document Relates to:                            )   [PROPOSED] ORDER GRANTING
                                                          )   WITHDRAWAL OF CRAIG Y.
16   ALL ACTIONS                                          )   ALLISON AS COUNSEL FOR
                                                          )   DEENDANTS PANASONIC
17                                                            CORPORATION OF NORTH
                                                              AMERICA, MT PICTURE DISPLAY
18                                                            CO., LTD., AND PANASONIC
                                                              CORPORATION
19

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21            IT IS HEREBY ORDERED that the request for withdrawal of Craig Y. Allison’s as

22   counsel of record for Defendants is GRANTED.

23            It is further ORDERED that Craig Y. Allison’s name be removed from the case docket,

24   that the Clerk terminate the delivery of all Notices of Electronic Filing addressed to

25   callison@bdiplaw.com and that Mr. Allison’s name be removed from any applicable service

26   lists.

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28
     [PROPOSED] ORDER GRANTING                                                          Case No. 07-5944 SC
     WITHDRAWAL OF CRAIG Y. ALLISON AS                                                        MDL No. 1917
     COUNSEL
       Case 3:07-cv-05944-JST Document 4100 Filed 10/07/15 Page 2 of 2

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     IT IS SO ORDERED:                                     TA




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                                                 UNIT
     Dated:   10/07/2015                 By:
 3
                                               Honorable Samuel Conti




                                                                                          R NIA
 4                                             United States District Judge
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 5                                                           Judge S




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     [PROPOSED] ORDER GRANTING                                                  Case No. 07-5944 SC
     WITHDRAWAL OF CRAIG Y. ALLISON AS     -2-                                        MDL No. 1917
     COUNSEL
